     Case 17-60377     Doc 45     Filed 08/23/18 Entered 08/23/18 15:15:05         Desc Main
                                    Document     Page 1 of 5


                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF MINNESOTA

In RE:

DONALD TIETZ,                                                 Case No.: 17-60377
   aka Don Tietz,                                             Chapter 7
   asf D&C Properties, LLP,
   asf Don Tietz Construction,
COLEEN TIETZ,
   asf D&C Properties, LLP
                            Debtors.

          APPLICATION FOR APPROVAL OF EMPLOYMENT OF AUCTIONEER TO SELL
               PROPERTY OF THE ESTATE, RECOMMENDATION AND ORDER

1.       Applicant is the trustee in this case.

2.       Applicant applies for approval of BKAssets.com, LLC ("BKAssets"), as an internet
         auctioneer to perform an auction of the Debtors’ property. The property to be sold
         is as follows:

         a.     Arizona real property legally described as:

                LOT 798, OF GREENFIELD VILLAGE R.V. RESORT PHASE II, ACCORDING TO THE
                PLAT OF RECORD IN THE OFFICE OF THE COUNTY RECORDER OF MARICOPA
                COUNTY, ARIZONA, RECORDED IN BOOK 278 OF MAPS, PAGE 2 AND CERTIFICATE
                OF CORRECTION RECORDED IN DOCUMENT NO. 85-603865.

3.       1994 Cavco mobile home located on the property in Arizona.

4.       The terms and conditions of compensation and reimbursement of expenses are as
         follows:
                10% of the gross selling price, plus out-of-pocket expenses, estimated not to
                exceed $550 ($500 will be paid by the buyer to offset expenses to the
                bankruptcy estate). The compensation and expenses shall be paid
                immediately from the net sales proceeds of the real property and mobile
                home.

5.       Said professional has disclosed to the undersigned that it has not had any
         connections with the debtor, creditors, any other party-in-interest, their respective

17-60377 APP TO EMPLOY AUCTIONEER.rtf
 Case 17-60377     Doc 45   Filed 08/23/18 Entered 08/23/18 15:15:05       Desc Main
                              Document     Page 2 of 5


      attorneys and accountants, the United States Trustee or any person employed in the
      Office of the United States.

      WHEREFORE, Applicant requests that the Bankruptcy Court approve such
employment by the trustee.

Dated: August 22, 2018           Signed: /e/ David G. Velde
                                        David G. Velde, Trustee
                                        1118 Broadway
                                        Alexandria, MN 56308
                                        (320) 763-6561




17-60377 APP TO EMPLOY AUCTIONEER.rtf
Case 17-60377   Doc 45   Filed 08/23/18 Entered 08/23/18 15:15:05   Desc Main
                           Document     Page 3 of 5
  Case 17-60377     Doc 45       Filed 08/23/18 Entered 08/23/18 15:15:05     Desc Main
                                   Document     Page 4 of 5




                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MINNESOTA

In RE:

DONALD TIETZ,                                            Case No.: 17-60377
   aka Don Tietz,                                        Chapter 7
   asf D&C Properties, LLP,
   asf Don Tietz Construction,
COLEEN TIETZ,
   asf D&C Properties, LLP
                                                                      Debtors.

                                           ORDER

On ___________________, 2018, the Application to Employ BKAssets.com, 216 N Center
Mesa, AZ 85201, to auction property of the estate, came before the undersigned. Based on
the Application, the Recommendation of the United States Trustee, and pursuant to the
provisions of Title 11, United States Code, §327,

IT IS HEREBY ORDERED the professional employment applied for is hereby approved subject to
the limitations on compensation provided by Title 11, United States Code, §328.


Dated:
                                                   ___________________________________
                                                   Michael E. Ridgway
                                                   United States Bankruptcy Judge




                                                   17-60377 APP TO EMPLOY
                                                   AUCTIONEER.rtf
  Case 17-60377       Doc 45     Filed 08/23/18 Entered 08/23/18 15:15:05         Desc Main
                                   Document     Page 5 of 5


                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF MINNESOTA

In RE:

DONALD TIETZ,                                              Case No.: 17-60377
   aka Don Tietz,                                          Chapter 7
   asf D&C Properties, LLP,
   asf Don Tietz Construction,
COLEEN TIETZ,
   asf D&C Properties, LLP
                                                                          Debtors.


                               UNSWORN CERTIFICATE OF SERVICE


The undersigned, of the City of Alexandria, County of Douglas, in the State of Minnesota, says
that on 2018, the attached APPLICATION FOR APPROVAL OF EMPLOYMENT OF
AUCTIONEER TO SELL PROPERTY OF THE ESTATE, RECOMMENDATION AND ORDER were
served as follows:

         The following parties were served by U.S. Mail, by enclosing a true and correct copy
         thereof in an envelope addressed as follows, with first class postage prepaid, and
         depositing the same in the post office at Alexandria, Minnesota:

              Mr. Donald Tietz
              Ms. Coleen Tietz
              PO Box 5
              Callaway, MN 56521

         All parties receiving electronic notices were served by the Court’s ecf noticing system
         upon the filing of the document(s) at his/her email address of record.


                                                    /e/ Colleen Ouimet
                                                    Assistant to David G. Velde, Trustee
                                                    1118 Broadway
                                                    Alexandria, MN 56308
                                                    (320) 763-6561



17-60377 APP TO EMPLOY AUCTIONEER.rtf
